                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

   MICHAEL B. REED, et al.,                       )
                                                  )
          Plaintiffs,                             )
                                                  )
   v.                                             )   No. 3:18–CV–201
                                                  )
   UNITED STATES OF AMERICA,                      )
                                                  )
          Defendant.                              )

                                            JUDGMENT

          This action came before the Honorable J. Ronnie Greer, District Judge, presiding, and the

   issues having been duly addressed and a decision having been duly rendered,

          It is ORDERED and ADJUDGED that Plaintiffs recover nothing of Defendant and that the

   action of Plaintiffs against Defendant be DISMISSED without prejudice.

          ENTERED AS A JUDGMENT:



                                                      s/J. RONNIE GREER
                                                 UNITED STATES DISTRICT JUDGE


        s/ LeAnna R. Wilson _
         District Court Clerk




Case 3:18-cv-00201-JRG-CRW Document 161 Filed 02/28/22 Page 1 of 1 PageID #: 5881
